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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

 IN RE SKANSKA USA CIVIL                  §
 SOUTHEAST INC. AND                       §
 SKANSKA USA, INC. AS                     §
 OWNERS OF THE BARGE KS                   §     ADMIRALTY RULE 9(H)
 5531, PRAYING FOR                        §
 EXONERATION FROM OR                      §     CIVIL ACTION NO.
 LIMITATION OF LIABILITY                  §     3:20-CV-05980 – RV / MJF
                                          §
 COMPLAINT OF                             §     SENIOR DISTRICT JUDGE
 BAGELHEADS, INC.,                        §     ROGER VINSON
                                          §
               CLAIMANT.                  §

 THIS PLEADING RELATES TO
 CIVIL ACTION NOS:
 3:20-CV-05980-RV / MJF
 3:20-CV-05981-RV / MJF
 3:20-CV-05982-RV / MJF
 3:20-CV-05983-RV / MJF

ANSWER TO COMPLAINT FOR EXONERATION OR LIMITATION OF
                     LIABILITY
      AND NOW, specifically reserving all defenses asserted herein, including,

without limitation, Claimant’s right to pursue its claims in state court pursuant to the

Savings to Suitors Clause, 28 U.S.C. §1333, and all state law remedies, Claimant

responds to the identical, individual Paragraphs of the Complaints for Exoneration
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From or Limitation of Liability filed in 3:20-cv-05980, 3:20-cv-05981, 3:20-cv-

05982, and 3:20-cv-05983 1, upon information and belief, as follows:

      1.     Admitted only that the Petitioner claims jurisdiction of this Court for

their Limitation of Liability Complaint. It is denied that Petitioner, or any other

party responsible for Claimant’s losses, is entitled to any limitation of their liability

under Florida, Federal, or Maritime law. It is averred that jurisdiction and venue

for the disposition of Claimant’s claims against Petitioner and any other party

responsible for Claimant’s damages is more properly suited in the Circuit Court of

the First Judicial Circuit in and for Escambia County, Florida.

      2.     Claimant lacks knowledge or information sufficient to form a belief

about the truth of these allegations and so, pursuant to Fed.R.Civ.P. 8(b)(5), they are

denied.     Without waiver of the foregoing, Claimant denies Petitioners’

characterization of KS 5531, 460007, CBR 758, AND KS 6011 as a “vessel” as that

term applies to 46 USC § 30505 of the Limitation of Shipowners’ Liability Act,

Supplemental Rule F, or any other basis upon which Defendants’ assert admiralty or

maritime jurisdiction. Maritime law does not apply. The work platforms at issue in

this case are not properly considered “vessels.” They are not “used, or capable of


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  Petitioners’ Complaints filed in 3:20-cv-05980, 3:20-cv-05981, 3:20-cv-05982,
and 3:20-cv-05983, are identical in all respects other than the identifying
characteristics of the subject work platforms described therein, which Claimant lacks
knowledge or information to challenge.
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being used, as a means of transportation on water”; they have no means of self-

propulsion and lack other characteristics typically associated with “vessels.” These

work platforms were wholly engaged in the service of construction, rather than

traditional maritime activity. Any use of these work platforms that involves

“traditional maritime activity,” if there is any, is merely incidental to their design

and purpose of serving as work platforms to facilitate bridge and roadway

construction, for a company that is engaged in bridge and roadway construction, and

not in traditional maritime activities. Moreover, the damage to the bridge, although

extremely disruptive to land-based commerce, does not have a potentially disruptive

impact on maritime commerce, nor does a substantial relationship exist between

Petitioners’ negligent conduct in failing to move or safely secure the work platforms

and traditional maritime activity. Relatedly, none of the parties are injured seamen.

Therefore, maritime law is inapplicable to this case.

      3.     The allegations contained in Paragraph 3 are admitted for jurisdictional

purposes only. Claimant denies all other allegations contained in this Paragraph to

the extent they call for a response.

      4.     The allegations contained in Paragraph 4 are admitted for jurisdictional

purposes only.

      5.     The allegations contained in Paragraph 5 are denied.

      6.     The allegations contained in Paragraph 6 are denied for lack of


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sufficient information to justify a belief therein.

      7.     The allegations contained in Paragraph 7 are denied.

      8.     The allegations contained in Paragraph 8 are denied.

      9.     The allegations contained in Paragraph 9 are denied.

      10.    The allegations contained in Paragraph 10 are denied.

      11.    The allegations contained in Paragraph 11 are denied for lack of

sufficient information to justify a belief therein.

      12.    The allegations contained in Paragraph 12 are denied for lack of

sufficient information to justify a belief therein.

      13.    The allegations contained in Paragraph 13 are denied for lack of

sufficient information to justify a belief therein.

                                    CONCLUSION

      The allegations contained in the Prayer for Relief are not statements of fact,

but conclusions of law and/or prayers for relief, from which no response is necessary

from Claimant. However, if responses be deemed necessary, said allegations are

denied.

                                     DEFENSES

                                  FIRST DEFENSE

      The Limitation of Liability Act is not applicable to the instant case because at

all times pertinent herein the KS 5531, 460007, CBR 758, and KS 6011 was operated
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in a willful, wanton, and reckless manner or, in the alternative, the conduct and

actions which led to Claimant’s claim herein for any damages it has, or may incur,

took place with the privity and knowledge of the owners, managing owners, owners

pro hac vice, and/or operators of the vessel involved.

                               SECOND DEFENSE

      The Limitation of Liability Act is not applicable in the instant case because at

all relevant times the KS 5531, 460007, CBR 758, and KS 6011 was known by the

owner, operator, and/or owner pro hac vice to be unseaworthy for, among things,

failing to train its operators to follow a proper adverse weather protocol, failing to

implement procedures for shutting down and securing its property during strong

weather conditions, failing to follow safe work and operational procedures, failing

to conduct adequate adverse weather forecasting, failing to properly supervise the

work with competent employees, failing to make a proper docking and/or security

plan, and failing to provide a competent crew and safe equipment.

                                THIRD DEFENSE

      The allegations of the Complaint fail to state a claim upon which relief may

be granted.




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                               FOURTH DEFENSE

      The Limitation Fund is inadequate, and the Complaint should be dismissed

because Petitioners have failed to deposit adequate security for the vessel identified

in its Complaint for Exoneration from or Limitation of Liability.

                                 FIFTH DEFENSE

      To the extent Petitioner’s insurers attempt to avail themselves of the

Limitation/Exoneration defense, Claimant asserts that the Limitation of Liability Act

is unavailable to insurers of vessel owners under the circumstances. In the

alternative, no prima facie case has been made establishing that they are entitled to

avail themselves of the Limitation of Liability Act.

                                 SIXTH DEFENSE

      The events culminating in Claimant’s damages were a result of the

negligence, fault, or want of due care on the part of Petitioners and/or those for whom

Petitioners are responsible, all of which was within the privity and knowledge of

Petitioners, for which the Complaint in Limitation should be denied.




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                              SEVENTH DEFENSE

      The events culminating in Claimant’s damages were not the result of any

negligence, fault or want of due care on Claimant’s part or those for whom it may

be responsible.

                               EIGHTH DEFENSE

      Upon information and belief, there was insurance coverage on the KS 5531,

460007, CBR 758, and KS 6011 insuring Petitioners in the event of an occurrence

such as that which is the subject of Claimant’s claims, and the proceeds of said

insurance policy should be included in this limitation proceeding in the event the

Court determines these limitation proceedings are appropriate.

                                NINTH DEFENSE

      Claimant reserves the right to contest the appraisal value of the KS 5531,

460007, CBR 758, and KS 6011, including the working platform’s structure,

apparel, appurtenances, pending freight, etc., and the adequacy of the security.

                               TENTH DEFENSE

      The limitation fund is inadequate and should be increased and/or this action

should be dismissed because the limitation fund does not properly account for the

value of appurtenances, attachments, equipment, freight and/or cargo aboard the KS


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5531, 460007, CBR 758, and KS 6011, subject to the control of and/or owned by the

Petitioners.

                              ELEVENTH DEFENSE

      The Complaint should be dismissed as KS 5531, 460007, CBR 758, and KS

6011 was not a “seagoing vessel” within the definition of maritime and/or admiralty

law because it was a working platform.

                               TWELFTH DEFENSE

      The Complaint for Exoneration From or Limitation of Liability contains

vague and ambiguous statements which are objectionable under Federal Rule of

Civil Procedure 12(e), and Claimant seeks more definitive statements of the

allegations, regardless of the nature, manner and extent of its Claim and Answer

herein.

                            THIRTEENTH DEFENSE

      Claimant states that the proceeds of any judgment, award, or settlement which

may be received by Petitioners from any third party in recompense of any losses or

damages sustained herein to the property or interests of Petitioners, as a result of the

fault or alleged fault of said third party, must be included in the limitation fund.




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                             FOURTEENTH DEFENSE

      In filing this Claim and Answer, Claimant specifically reserves all rights to

pursue all available claims in state court for resolution of any and all issues beyond

the exclusive jurisdiction of this Admiralty Court pursuant to the Savings to Suitors

Clause, 28 U.S.C. § 1333, and all state law remedies. The filing of this Claim and

Answer is in no way a waiver of this right and defense and Claimant is not agreeing

to join all issues in this proceeding by filing this Claim and Answer.

                            FIFTHTEENTH DEFENSE

      Claimant specifically reserves all rights to pursue all available claims in the

forum of its choice for resolution of any and all issues beyond the exclusive

jurisdiction of this Admiralty Court pursuant to the Savings to Suitors Clause, 28

U.S.C. §1333, and all remedies, and no part of this Claim and Answer is a waiver of

this defense or these rights.

                                SIXTEENTH DEFENSE

      Claimant specifically reserves all rights under the “Personal Contract

Doctrine” against Petitioners to defeat its attempt to limit its liability for a failure

within its personal control that violated any contract, whether actual or implied,

that governs its performance.



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                 RESERVATION OF RIGHT TO JURY TRIAL

      Claimant hereby expressly reserves its right to proceed to a trial before a jury

in the previously filed state court action.

                                         Respectfully, Submitted

                                         /s/ E. Samuel Geisler
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                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 19th day of February, 2021, I

electronically filed the foregoing with the Clerk of Court by using the CM/ECF

system which will send a notice of electronic filing to all attorneys of record. I further

certify that, on the same day, I mailed, faxed or e-mailed the foregoing document

and notice of electronic filing to all attorney(s) of record who are non-CM/ECF

participants.



                                         /s/ E. Samuel Geisler




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